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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA

        v.                                       Case No. 22-CR-176 (CJN)

 STEPHEN JOHNSON,

               Defendant.


                       NOTICE OF SUBSTITUTION OF COUNSEL

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby informs the Court that Assistant United States Attorney Paul V.

Courtney is entering his appearance in the above-captioned case in substitution for Assistant

United States Attorney Janani Iyengar.


                                            Respectfully submitted,

                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            D.C. Bar No. 481052

                                    By:     /s/ Paul V. Courtney
                                            Paul V. Courtney
                                            Assistant United States Attorney
                                            D.C. Bar No. 1034252 / N.Y. Bar No. 5392337
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                                            for the District of Columbia
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                                            paul.courtney@usdoj.gov
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                               CERTIFICATE OF SERVICE

       On this 27th day of January, 2023, a copy of the foregoing Notice of Substitution of

Counsel was served upon all parties listed on the Electronic Case Filing (ECF) system.

                                            /s/ Paul V. Courtney
                                            Paul V. Courtney
                                            Assistant United States Attorney
